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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS
________________________________________________
MICHAEL BUSH; LINDA TAYLOR;                      )
LISA TIERNAN; KATE HENDERSON;                    )
ROBERT EGRI; KATALIN EGRI;                       )
ANITA LOPEZ; MONICA GRANFIELD;                  )
ANN LINSEY HURLEY; IAN SAMPSON;                 )
SUSAN PROVENZANO; and JOSEPH PROVENZANO, )
      pro se Plaintiffs,                        )
                                                )
VS.                                             ) C.A. NO. 1:21-cv-11794-ADB
                                                )
LINDA FANTASIA; MARTHA FEENEY-PATTEN;           )
ANTHONY MARIANO; CATHERINE GALLIGAN;            )
JEAN JASAITIS BARRY; PATRICK COLLINS;           )
DAVID ERICKSON; TIMOTHY GODDARD; and            )
TOWN OF CARLISLE,                               )
      Defendants.                                )

                     DEFENDANTS’ MOTION TO STAY DISCOVERY

       Defendants, Linda Fantasia, Martha Feeney-Patten, Anthony Mariano, Catherine Galligan,

Jean Jasaitis Barry, Patrick Collins, David Erickson, Timothy Goddard and Town of Carlisle,

hereby move to stay all discovery in this matter pending the outcome of defendants’ Motion to

Dismiss plaintiffs’ Complaint. (ECF Doc. No. 21). As grounds therefor, the defendants state that

good cause exists to temporarily stay discovery in this matter until after this Court has ruled on

whether plaintiffs’ pro se Complaint states claims against defendants upon which relief can be

granted. This Court may grant such relief under its inherent powers to stay proceedings for

prudential reasons and its authority to issue protective orders under Fed.R.Civ.P. 26(c)(1). Steward

Health Care System LLC v. Southcoast Health System, Inc., 2016 WL 11004353, at *2 (D. Mass.

June 15, 2016); Channing Bete Co., Inc. v. Greenberg, 2021 WL 4398510, at *2 (D. Mass. Sept.

27, 2021). Defendants submit the enclosed Memorandum of Law and Exhibit 1 thereto in support

of this Motion.
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       WHEREFORE, for good cause shown, this Court should stay all discovery in this matter

pending the outcome of defendants’ Motion to Dismiss plaintiffs’ Complaint.


                                    Respectfully submitted,

                                    The Defendants,

                                    LINDA FANTASIA, MARTHA FEENEY-PATTEN,
                                    ANTHONY MARIANO, CATHERINE GALLIGAN,
                                    JEAN JASAITIS BARRY, PATRICK COLLINS,
                                    DAVID ERICKSON, TIMOTHY GODDARD and
                                    TOWN OF CARLISLE,

                                    By their Attorneys,

                                    PIERCE DAVIS & PERRITANO LLP

                                    /s/ John J. Davis
                                    ______________________________________
                                    John J. Davis, BBO #115890
                                    10 Post Office Square, Suite 1100N
                                    Boston, MA 02109
                                    (617) 350-0950
                                    jdavis@piercedavis.com

Dated: August 19, 2022




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                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing, filed through the Electronic Case Filing System, will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
and that a paper copy shall be served upon those indicated as non-registered participants on
August 19, 2022 as follows:

Michael Bush
280 Lowell Street
Carlisle, MA 01741

Linda Taylor
879 Concord Street
Carlisle, MA 01741

Lisa Tiernan
116 Lowell Street
Westford, MA 01886

Kate Henderson
559 Lowell Street
Carlisle, MA 01741

Robert Egri
80 Wildwood Drive
Carlisle, MA 01741

Katalin Egri
80 Wildwood Drive
Carlisle, MA 01741

Anita Lopez
51 Bingham Road
Carlisle, MA 01741

Monica Granfield
110 Carlisle Pines Drive
Carlisle, MA 01741

Ann Linsey Hurley
10 Half Moon Hill
Acton, MA 01720




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Ian Sampson
315 Fiske Street
Carlisle, MA 01741

Susan Provenzano
80 Mill Pond Lane
Carlisle, MA 01741

Joseph Provenzano
80 Mill Pond Lane
Carlisle, MA 01741


                                   /s/ John J. Davis
                                   _________________________
                                   John J. Davis, Esq.




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